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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                Case No. 14-23869-CIV-O’SULLIVAN
                                      [CONSENT]

  MARCO ALONSO, et al.,
      Plaintiffs,
  v.

  OCEAN CC, LLC, NKS OCEAN, LLC
  and DAVIDE GUGLIELMINI,

        Defendants.
  ________________________________/

                    ORDER APPROVING SETTLEMENT AGREEMENT AND
              DISMISSING CASE IN PART WITH PREJUDICE AS TO DEFENDANTS
                     OCEAN CC, LLC AND DAVIDE GUGLIELMINI ONLY

          THIS MATTER is before the Court on the parties’ Joint Motion for in Camera Inspection

  and Approval of Confidential Settlement Agreements Between Plaintiffs and Defendants Ocean

  CC, LLC and Davide Guglielmini Only (DE# 132, 8/2/16) and the Court having conducted a

  hearing concerning the settlement.

          THE COURT has heard from counsel and considered the terms of the Settlement

  Agreement, the pertinent portions of the record, and is otherwise fully advised in the premises.

          This case involves claims for minimum wage and unpaid overtime compensation under

  the Fair Labor Standards Act, 29 U.S.C. §201, et seq ("FLSA"). In reviewing a settlement of an

  FLSA private claim, a court must "scrutiniz[e] the settlement for fairness," and determine that

  the settlement is a "fair and reasonable resolution of a bona fide dispute over FLSA provisions."

  Lynn Food Stores v. United States, 679 F.2d 1350, 1352-53 (11th Cir. 1982). A settlement

  entered into in an adversarial context where both sides are represented by counsel throughout

  litigation "is more likely to reflect a reasonable compromise of disputed issues." Id. The district

  court may approve the settlement in order to promote the policy of encouraging settlement of

  litigation. Id. at 1354.

          In this case, there is a bona fide factual dispute over the number of overtime hours
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  worked by the plaintiffs1 and a legal and factual dispute concerning whether the tip credit was

  properly applied. Additionally, one of the corporate defendants is out of business and one of the

  individual defendants is a foreign national residing outside the United States. The Court has

  reviewed the terms of the partial settlement including the amount to be received by the plaintiffs

  and the attorney's fees and costs to be received by counsel and finds that the compromise

  reached by the parties is a fair and reasonable resolution of the parties' bona fide disputes.

  Accordingly, it is

          ORDERED AND ADJUDGED that the parties' Settlement Agreement (including

  attorney's fees and costs) is hereby APPROVED. It is further

          ORDERED AND ADJUDGED that this case is DISMISSED WITH PREJUDICE as to

  defendants Ocean CC, LLC and Davide Guglielmini only as to the claims of the plaintiffs who

  participated in the settlement. The Court retains jurisdiction until October 12, 2016 to enforce

  the terms of the settlement. It is further

          ORDERED AND ADJUDGED that by Monday, October 3, 2016, counsel for the

  plaintiffs shall file a motion for default judgment against the remaining defendant, NKS Ocean,

  LLC. The motion shall be supported by evidence.

          DONE AND ORDERED in Chambers at Miami, Florida this 2nd day of

  September, 2016.



                                               JOHN J. O’SULLIVAN
                                               UNITED STATES MAGISTRATE JUDGE
  Copies to:
  All counsel of record


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          The plaintiffs who participated in this settlement are Marco Alonso, John Neilan,
  Marina Lazar, Raul Ayala, Nelson Salazar, Luis Garcia, Charles Husey, Alexei Ponomari, Jesus
  Huatuco, Alex Barros, Jonathan Gonzalez, Carlos Goungian, Fredis Pineda, Kellie Pastore,
  Alejandro Szewczuk, Julyano Falcon, Camilo Caro, Pablo Cano, Gaetano Giampaolo, David
  Williams, Ashley Ramon, Stefan Veljko and Courtney Pellicane.

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